                    United States District Court
                     District of Massachusetts

                                     )
UNITED STATES OF AMERICA,            )
                                     )
            v.                       )
                                     )      Criminal Action No.
ARTHUR GIANELLI,                     )      05-10003-NMG-1
                                     )
            Defendant.               )
                                     )


                         MEMORANDUM & ORDER

GORTON, J.

     In October, 2009, Arthur Gianelli (“Gianelli” or

“petitioner”) was sentenced to 271 months in prison and 36

months of supervised release after being convicted of RICO,

gambling offenses, money laundering, extortion, attempted arson

and related conspiracy offenses.         Gianelli contends that his

lawyers rendered ineffective assistance prior to and during

trial and moves 1) to vacate his sentence pursuant to 28 U.S.C.

§ 2255 and 2) for discovery in connection with his habeas

petition.    For the reasons that follow, both motions will be

denied.

I.   Background

     A.     Criminal investigation

     Gianelli’s prosecution resulted from an investigation of an

extensive illegal gambling operation by the Massachusetts State

Police (“the MSP”) in 2003.    The MSP obtained orders to

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intercept telephone conversations of Gianelli, the head of the

group, and co-defendant Dennis Albertelli (“Albertelli”), the

second-in-command, between late October, 2003 and mid-January,

2004.

    The intercepted calls revealed that Gianelli and Albertelli

were involved in a dispute with Mark Colangelo (“Colangelo”)

over ownership of the Big Dog Sports Bar in Lynnfield,

Massachusetts.    Gianelli and Albertelli intended to pressure

Colangelo to settle on terms favorable to themselves by burning

down Romeo’s Pizza, the pizza shop in North Reading,

Massachusetts owned by Colangelo.

    On November 13, 2003, officers set up surveillance at

Romeo’s Pizza and arrested two men attempting to set fire to the

building.    The men had been recruited by co-defendant Deeb

Homsi.

    B.      Indictments, arrest and jury trial

    In January, 2005, Gianelli and four co-defendants were

arrested and indicted on five counts of illegal gambling,

extortion, arson and related conspiracy offenses.     The first

superseding indictment returned in April, 2005 charged Gianelli

on 311 counts.    A second superseding indictment returned in

September, 2006 charged Gianelli on 330 counts.     That indictment

also charged Gianelli’s wife, Mary Ann Gianelli, with 160 felony

counts including RICO, gambling, money laundering and tax

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offenses.    Generally, the prosecution advanced the theory that

Gianelli served as the leader of a criminal organization that

ran illegal gambling operations, collected debts through

extortionate means and conspired to commit arson.

    A seven-week jury trial was held in March and April, 2009.

Gianelli was convicted on 328 counts of RICO, gambling offenses,

money laundering, extortion, attempted arson and related

conspiracy offenses.    He was acquitted on one gambling count and

one count of interstate travel in aid of racketeering.      The

government subsequently dismissed four money laundering counts,

leaving Gianelli with 324 felony convictions.

    C.      Procedural History

    In October, 2009, the Court sentenced Gianelli to 271

months in prison and 36 months of supervised release.      Gianelli

timely appealed his conviction on grounds that the Court erred

in denying his motion to suppress wiretap evidence and in

permitting a case agent to interpret ordinary words and phrases

in an intercepted call based on his knowledge of a far-reaching

investigation.    In June, 2012, the First Circuit Court of

Appeals affirmed Gianelli’s conviction and the United States

Supreme Court denied his petition for writ of certiorari in May,

2013.

    In May, 2014, Gianelli timely moved for habeas relief under

28 U.S.C. § 2255.    He claims that he was the victim of

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ineffective assistance of counsel from two of his trial lawyers,

the late Richard Egbert (“Attorney Egbert”) and Robert L.

Sheketoff (“Attorney Sheketoff”).    Gianelli claims that Attorney

Egbert was ineffective in: 1) failing to conduct a prompt

examination of the case, 2) proceeding based on a

misunderstanding of the law, 3) not providing Gianelli with

sufficient advice relating to a “swift plea,” 4) rendering

incompetent representation during plea negotiations, 5) failing

to investigate Gianelli’s defenses, 6) failing to abide by

Gianelli’s wishes to accept a plea offer of 12 years

incarceration and 7) not adhering to ABA standards.

    Moreover, Gianelli claims Attorney Sheketoff was

ineffective after the death of Attorney Egbert in: 1)

instructing Gianelli to turn down a 14-year plea offer, 2)

proceeding based on a misunderstanding of the law, 3) failing to

investigate the government’s case adequately, 4) failing to

advise Gianelli on how the government could change its

prosecution theory at trial, 5) misunderstanding the strength of

the government’s case and 6) not adhering to ABA standards.

    Gianelli contends that but for the errors of Attorney

Egbert he would have been sentenced to 12 years in prison, and

in the alternative, that but for the errors of Attorney

Sheketoff he would have been sentenced to 14 years in prison.

He now moves to correct his sentence.

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II.    Motion to Vacate

       A.    Legal Standard

       Section 2255 enables a prisoner in custody to move the

court that imposed his sentence to vacate, set aside or correct

the sentence if it was 1) imposed in violation of the

Constitution or laws of the United States or by a court that

lacked jurisdiction, 2) in excess of the maximum authorized by

law or 3) otherwise subject to collateral attack. 28 U.S.C.

§ 2255(a); David v. United States, 134 F.3d 470, 474 (1st Cir.

1998).      The petitioner bears the burden of establishing the need

for relief in each of those circumstances. David, 134 F.3d at

474.     To be entitled to relief under § 2255, the petitioner must

present “exceptional circumstances” that make the need for

redress “evident.” Id. (citing Hill v. United States, 368 U.S.

424, 428 (1962)).

       A § 2255 petition is procedurally defaulted and

unreviewable on collateral attack when the petitioner has not

presented the claim on direct appeal, lacks cause for failing to

do so and suffered no “actual prejudice resulting from the

error.” Damon v. United States, 732 F.3d 1, 4 (1st Cir. 2013)

(citing Bousley v. United States, 523 U.S. 614, 622 (1998)).

Pleading constitutionally ineffective assistance of counsel is

sufficient to excuse a procedural default. Prou v. United

States, 199 F.3d 37, 47 (1st Cir. 1999).

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    To prevail on a claim of ineffective assistance of counsel

under the Sixth Amendment, the petitioner must show that his

representation by counsel 1) “fell below an objective standard

of reasonableness” and 2) “but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984).

That test is formidable.

    [J]udicial scrutiny of counsel’s performance must be
    highly deferential [and] counsel is strongly presumed to
    have rendered adequate assistance and made all
    significant decisions in the exercise of reasonable
    professional judgment.

Id. at 689-90; see also Knight v. Spencer, 447 F.3d 6, 15 (1st

Cir. 2006) (noting that petitioner must show that his “counsel's

choice was so patently unreasonable that no competent attorney

would have made it”) (internal citation omitted).

    A petitioner who files a § 2255 motion “is not entitled to

an evidentiary hearing as a matter of right.” David v. United

States, 134 F.3d 470, 477 (1st Cir. 1998).   There is a “fairly

heavy burden” of proving that an evidentiary hearing is merited.

See United States v. McGill, 11 F.3d 223, 225-26 (1st Cir.

1993).   In order to satisfy that burden, a habeas petitioner

generally must provide evidence admissible under the Federal

Rules of Evidence. Garuti v. Roden, 733 F.3d 18, 25 (1st Cir.

2013).   The Court may dismiss a petition without a hearing if it

is contradicted by the record, inherently incredible or if the

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petitioner has failed to provide “specific and detailed

supporting facts.” United States v. Butt, 731 F.2d 75, 77 (1st

Cir. 1984). Furthermore,

      no [evidentiary] hearing is required where the district
      judge is thoroughly familiar with the case as, for
      example, when he presides at both a change of plea hearing
      and sentencing.

Ouellette v. United States, 862 F.2d 371, 377 (1st Cir. 1988).

    B.      Application

            1.   Attorney Egbert and the purported 12-year
                 plea offer

    Gianelli asserts that sometime between the filing of the

second superseding indictment in September, 2006 and Attorney

Egbert’s death in July, 2008, Attorney Egbert informed

petitioner that AUSA Fred M. Wyshak, Jr. (“AUSA Wyshak”) had

offered a plea agreement that would have resulted in a 12-year

sentence.    Petitioner claims to have instructed Attorney Egbert

to accept the offer in no uncertain terms and that Attorney

Egbert allegedly promised to do so.     No plea agreement was

consummated before Attorney Egbert’s death.

    Petitioner contends that but for Attorney Egbert’s

ineffective assistance of counsel he would have been sentenced

to 12 years in prison.     Had the government indeed made that

offer, his contention would merit further evaluation.     The Court

has no reason to infer, however, that the government ever made

such an offer to petitioner or to any of his representatives.

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    Gianelli has proffered no admissible evidence in support of

his claim that the government offered him a 12-year plea

bargain.    The only “evidence” petitioner refers to is an account

of what Attorney Egbert allegedly told him about a conversation

Attorney Egbert had with AUSA Wyshak.    Such classic hearsay

cannot be considered by the Court. Garuti, 733 F.3d at 25.       Nor

has Gianelli pled any specific facts about the nature of that

alleged plea deal.    He has offered no details as to:

    1)      which of the 330 felony counts he would have pled
            guilty to,

    2)      whether the plea would have been binding on the Court
            upon acceptance under Fed. R. Crim. P. 11(c)(1)(C) or
            non-binding under Fed. R. Crim. P. 11(c)(1)(B), or

    3)      whether the alleged plea agreement was offered to him
            individually or as part of a global resolution with
            his co-defendants.

    Moreover, Gianelli has failed to submit affidavits with

respect to the alleged plea agreement from either of his

surviving counsel, one of whom worked as an associate of

Attorney Egbert during the time Attorney Egbert represented

Gianelli.    If there was such an agreement, it is highly probable

that petitioner would have discussed it with his attorneys.

    The existence of the alleged plea offer is all the more

suspect because Gianelli fails to explain whether it was a

stand-alone offer or part of a universal plea agreement.    An

offer to Gianelli alone of such relatively lenient terms would


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have made little sense because prosecutors would still have had

to try his co-defendants on hundreds of overlapping felony

counts and thus would not have saved time or expense by

disposing of just Gianelli’s case.

    Furthermore, Gianelli has failed to prove that he was

actually prejudiced by his counsel’s alleged failure to accept

the proffered plea agreement because he has not demonstrated a

reasonable probability that the Court would have accepted it.

See Missouri v. Frye, 132 S.Ct. 1399, 1411 (2012) (noting that

“there is no Strickland prejudice” if defendant cannot show a

reasonable probability that the trial court would have accepted

the plea agreement).   In sentencing Gianelli to 271 months in

prison, which was at the high end of the Sentencing Guidelines

and nearly twice what the alleged plea agreement called for, the

Court noted its intention to impress upon Gianelli and others

the seriousness of organized crime and the immense harm it

causes.   Petitioner has not shown a reasonable probability that

the Court would have accepted a plea recommendation of 12 years

given that he provided no assistance to the government in its

investigation and a stand-alone plea would not have

substantially reduced the length or complexity of trial against

petitioner’s co-defendants.

    Accordingly, Gianelli has not demonstrated that Attorney

Egbert’s failure to accept an alleged 12-year plea offer

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satisfies either prong of the Strickland test for ineffective

assistance of counsel.

          2.   Other claims of ineffective assistance with
               respect to Attorney Egbert

    Petitioner also claims that Attorney Egbert failed to

provide him with constitutionally sufficient advice on the need

to make a “swift plea” to the initial indictment.   Gianelli

reasons that but for Attorney Egbert’s failure to advise him to

take the government’s alleged offer, he would not have faced the

additional charges listed in the two superseding indictments.

Again, Gianelli has provided no admissible evidence or other

supporting facts to meet his burden of proving that the outcome

of the proceedings would have been different.   He instead

proceeds under the misunderstanding that pleading guilty to

certain crimes would have precluded the government from charging

him with additional crimes of which he was later found guilty by

a jury.   Petitioner’s argument therefore fails to satisfy the

standard set by Strickland.

    Gianelli’s other claims of ineffective assistance with

respect to Attorney Egbert are insufficiently addressed in his

§ 2255 motion and are also unsupported by any alleged facts.

Accordingly, claims (1), (2), (4), (5) and (7) will be summarily

dismissed.




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          3.    Attorney Sheketoff and the purported 14-year plea
                offer

    In September, 2008, Attorney Sheketoff filed his appearance

on behalf of Gianelli.     Sometime between September, 2008 and the

commencement of Gianelli’s jury trial in March, 2009, Gianelli

claims that the government offered a plea agreement that would

have resulted in a 14-year sentence.     Gianelli alleges that

Attorney Sheketoff counseled him against taking the offer by

asserting that a conviction at trial would, at most, result in a

15-year prison sentence.    Gianelli went to trial and, upon

conviction, was sentenced to more than 22 years in prison.

    Similar to his allegation of Attorney Egbert’s

indiscretion, Gianelli has presented no credible evidence of the

existence or the terms of an alleged 14-year plea bargain.       He

claims to have discussed its terms with Attorney Sheketoff but

has submitted no affidavit from Attorney Sheketoff on the

matter.   Gianelli has therefore failed to support his claim with

any specific facts.

    Nor does Gianelli establish ineffective asssitance of

counsel by alleging that Attorney Sheketoff predicted a maximum

prison sentence of 15 years.     Gianelli proffers nothing in

support of his contention that Attorney Sheketoff ever made such

a prediction.   Moreover, an “erroneous strategic decision about

the outcome of a trial is not necessarily deficient


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performance.” Lafler, 132 S.Ct. at 1391, see also Colotti v.

United States, 2012 WL 1122972 at *14 (S.D.N.Y. Apr. 4, 2012)

(“an inaccurate prediction as to the sentence a defendant is

likely to receive after trial should only rarely be susceptible

to an ineffective assistance claim”).

    Petitioner likewise has failed to meet his burden of

proving actual prejudice.   As previously discussed, Gianelli has

not shown a reasonable probability that the Court would have

accepted a 14-year sentence as part of a plea agreement.

    Finally, none of Gianelli’s residual claims against

Attorney Sheketoff is supported by specific, supporting facts

and will therefore be summarily dismissed.

         4.   Evidentiary hearing

    The Court concludes that an evidentiary hearing with

respect to Gianelli’s petition is unnecessary because 1)

petitioner has failed to provide specific facts to support his

allegations that he was offered plea bargains of either a 12-

year sentence or a 14-year sentence and 2) the Court presided

over the petitioner’s jury trial and his sentencing and is

therefore thoroughly familiar with the case.   The record

provides a sufficient basis for resolving the matter without an

additional hearing.




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III. Motion Requesting Leave to Take Discovery

    A.    Legal standard

    A petitioner under § 2255 is not entitled to discovery as a

matter of course. Bracy v. Gramley, 520 U.S. 899, 904 (1997).

He instead must show “good cause,” which may be established

    where specific allegations before the court show reasons
    to believe that the petitioner may, if the facts are
    fully developed, be able to demonstrate that he
    is...entitled to relief.

Harris v. Nelson, 394 U.S. 286, 300 (1969).   A habeas proceeding

is not a “fishing expedition,” rather, the petitioner must

provide the Court with a reason to believe that the discovery he

requests will allow him to demonstrate that he is entitled to

relief. Donald v. Spencer, 656 F.3d 14, 16 (1st Cir. 2011).

    B.    Application

    Gianelli requests that the United States Attorney’s Office

turn over all documents evidencing communication with Attorney

Egbert regarding this case up until the first superseding

indictment, all documents related to plea negotiations in this

case and all plea agreements submitted to this session of this

Court from 1995-2005.   He also requests that the Court identify

all of its arson and bookmaking cases during that time frame,

along with information pertaining to the criminal history

categories and sentences imposed against all defendants.

Petitioner cites Jackson v. Marshall, 500 F. Supp. 2d 1 (D.


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Mass. 2007) as precedent for this Court allowing discovery of a

prosecutor’s documents during habeas proceedings.

    Gianelli’s discovery request is not only improvidently

overbroad, the case he cites to support his motion is inapposite

because it involved a claim of alleged prosecutorial misconduct.

In that case, petitioner demonstrated good cause through

specific allegations that may have entitled him to relief if

fully developed.

    Here, Gianelli has failed to show good cause for discovery

with respect to the existence of plea offers of either a 12-year

sentence or a 14-year sentence.    Moreover, discovery of this

Court’s history of dealing with plea agreements has absolutely

no bearing on this case.   Accordingly, the motion for leave to

take discovery will be denied.




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                              ORDER

    Based upon the foregoing, Gianelli’s motion for leave to

take discovery (Docket No. 1001) is DENIED; and Gianelli’s

Motion to Vacate, Set Aside, or Correct a Sentence by a Person

in Federal Custody under 28 U.S.C. § 2255 (Docket No. 982) is

DENIED and the petition is DISMISSED.   The Court furthermore

DENIES a Certificate of Appealability pursuant to 28 U.S.C. §

2253(c)(2).


So ordered.
                                /s/ Nathaniel M. Gorton __
                                Nathaniel M. Gorton
                                United States District Judge

Dated July 15, 2015




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